Case 2:19-cr-00119-JDC-KK Document 1 Filed 04/10/19 Page 1of 2 PagelID#: 1

___ US. DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
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TONY A Moo .. WESTERN DISTRICT OF LOUISIANA
BY
a LAKE CHARLES DIVISION

UNITED STATES DISTRICT COURT

 

UNITED STATES OF AMERICA * CRIMINAL NO.
* 18 U.S.C, § 242
VS. *
* 2:19-cr-00119-01
ROBERT HAMMAC, * Unassigned District Judge
Defendant * Magistrate Judge Kay
*
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

DEPRIVATION OF RIGHTS UNDER COLOR OF LAW
[18 U.S.C. § 242]

On or about May 8, 2017, in Calcasieu Parish in the Western District of
Louisiana, the defendant, ROBERT HAMMAC, while acting under color of law as an
officer of the Lake Charles Police Department, willfully deprived G.T. of the right,
secured by the Constitution and laws of the United States, to be free from
unreasonable seizures, which includes the right to be free from a law enforcement
officer's use of unreasonable force during an arrest. The commission of this offense
involved the use of a dangerous weapon (taser) and resulted in bodily injury. All in

violation of Title 18, United States Code, Section 242 [18 U.S.C. § 242].
Case 2:19-cr-00119-JDC-KK Document 1 Filed 04/10/19 Page 2 of 2 PagelID#: 2

__A TRUE BILL

REDACTED

—FOREPERSON: FEDERAL GRAND JURY

DAVID C. JOSEPH
UNITED STATES ATTORNEY

       
  

 

  

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